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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                  CASE NO: 8:18-cr-234-T-35SPF

ALLAN BURT GUINTO


                             ACCEPTANCE OF PLEA OF GUILTY
                               AND ADJUDICATION OF GUILT

       This case having been considered by the Court on the Report and Recommendation

Concerning Plea of Guilty, (Dkt. 232) filed on January 17, 2019 and no objection thereto having

been filed, it is ORDERED:

       1.     The Report and Recommendation of the United States Magistrate Judge, (Dkt.

              232) is ACCEPTED, AFFIRMED AND ADOPTED.

       2.     Defendant, Allan Burt Guinto has entered a plea of guilty to Counts One, Two and

              Eight of the Second Superseding Indictment knowingly, intelligently and

              voluntarily. Such plea is accepted, and Defendant is adjudicated guilty of Counts

              One, Two and Eight of the Superseding Indictment.

       3.     That sentencing is scheduled for September 17, 2019 at 2:00 PM. Counsel are

              reminded of the requirement to contact the Courtroom Deputy if this hearing is

              anticipated to take longer than thirty (30) minutes.

       4.     Sentencing memoranda SHALL BE FILED IN EACH CASE and shall be filed no

              later than ten (10) business days prior to the date of the sentencing hearing.

       DONE and ORDERED in Tampa, Florida, this 14th day of February, 2019.
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Copies to:
Counsel of Record
U.S. Probation Office
U.S. Marshal Service




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